Case: 1:19-cv-00030-TSB-SKB Doc #: 90 Filed: 10/28/21 Page: 1 of 2 PAGEID #: 1346




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION

KARL FUGATE,                                   :
                                               :           Case No. 1:19cv30
       Plaintiff,                              :
                                               :           Judge Timothy S. Black
       v.                                      :
                                               :           Magistrate Judge Bowman
RONALD ERDOS, et al.,                          :
                                               :
       Defendants.                             :

                                   NOTICE OF APPEAL

       Notice is hereby given that Defendant, Ronald Erdos, hereby appeals to the United States

Court of Appeals for the Sixth Circuit from the District Court’s Order (Doc. 89), adopting the

Magistrate Judge’s Report and Recommendation (Doc. 80), granting in part, and denying in part,

Defendant’s Motion for Summary Judgment, which included qualified immunity, entered in this

action on September 28, 2021.

                                                   Respectfully submitted,

                                                   DAVE YOST
                                                   Ohio Attorney General

                                                   /s/ Thomas E. Madden
                                                   THOMAS E. MADDEN (0077069)
                                                   Senior Assistant Attorney General
                                                   Criminal Justice Section
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                                                   Counsel for Defendants
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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and accurate copy of the foregoing Notice of Appeal was

electronically filed on October 28, 2021. Notice of this filing was served by regular U.S. mail,

postage prepaid, to Karl Fugate, #A528-949, Ohio State Penitentiary, 878 Coitsville-Hubbard

Road, Youngstown, OH 44505. Parties may access this filing through the Court’s system.


                                                   /s/ Thomas E. Madden
                                                   Thomas E. Madden (0077069)
                                                   Senior Assistant Attorney General




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